Case 2:22-cv-04053-JLS-SK Document 11 Filed 06/21/22 Page 1 of 1 Page ID #:63



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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

Case No.: 2:22-cv-04053-JLS-SK                                     Date: June 21, 2022
Title: Okwara Obinna v. Navajo Express, Inc.

Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

        D. Rojas                                                     N/A
       Deputy Clerk                                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:
     Not Present                                           Not Present

PROCEEDINGS: (IN CHAMBERS) NOTICE RE: PROCEDURAL DEFECT IN
             NOTICE OF REMOVAL

        Plaintiff initiated the present action in state court on March 10, 2022. (See
Compl., Doc. 1-2.) Defendant was served on April 18, 2022. (Proof of Service, Doc. 1-
3, at 1.) Defendant filed a Notice of Removal on June 13, 2022. “The notice of removal
of a civil action or proceeding shall be filed within 30 days after the receipt by the
defendant, through service or otherwise, of a copy of the initial pleading setting forth the
claim for relief upon which such action or proceeding is based.” 28 U.S.C. § 1446(b)(1).
        Plaintiff must submit a motion to remand within 30 days of the date of removal if
Plaintiff objects to this Notice of Removal and requests remand. See 28 U.S.C.
§ 1447(c). Absent such motion, any procedural defect will be deemed waived.




                                                              Initials of Deputy Clerk: droj




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